Case 3:00-cr-00071-REP-RCY Document 175 Filed 11/06/20 Page 1 of 5 PageID# 527




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF VIRGINIA
                              Richmond Division


UNITED STATES OF AMERICA


V.                                          Civil Action No: 3:20CV575
                                            Criminal No. 3:00CR71
JEFFREY A. PLEASANT


                              MEMORANDUM OPINION


      By Memorandum Opinion and Order entered on December 28, 2018,

the Court denied Jeffrey A. Pleasant's successive motion under 28

U.S.C. § 2255 that had been authorized by the United States Court

of Appeals for the Fourth Circuit ("Successive § 2255 Motion").

United States v. Pleasant, No. 3:00CR71, 2018 WL 6834358, at *5

(E.D. Va. Dec. 28, 2018).         On July 29, 2020, the Court received

from Pleasant a motion seeking relief under Federal Rule of Civil

Procedure 60(b) ("Rule 60(b) Motion").i         In his Rule 60(b) Motion,

Pleasant contends that the December 28, 2018 Judgment denying his

Successive § 2255 Motion is void because, although he invoked the

Court's jurisdiction under 28 U.S.C § 2255, he used a form for

seeking relief under 28 U.S.C. § 2254.               As discussed below,

Pleasant's Rule 60(b) Motion is simply frivolous.

                         I.     PROCEDURAL HISTORY


      Following a jury trial, Jeffrey A. Pleasant was convicted of

two counts of interfering with commerce by threats or violence.



     ^ The Clerk filed Pleasant's Rule 60(b) Motion as a new civil
action because Pleasant did not list his criminal action number on
the 60(b) Motion. Instead, he indicated that he wished to have
the 60(b) Motion processed as a new civil action.
Case 3:00-cr-00071-REP-RCY Document 175 Filed 11/06/20 Page 2 of 5 PageID# 528
Case 3:00-cr-00071-REP-RCY Document 175 Filed 11/06/20 Page 3 of 5 PageID# 529
Case 3:00-cr-00071-REP-RCY Document 175 Filed 11/06/20 Page 4 of 5 PageID# 530
Case 3:00-cr-00071-REP-RCY Document 175 Filed 11/06/20 Page 5 of 5 PageID# 531
